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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     October 15, 2020
BY CM/ECF
The Hon. J. Paul Oetken
United States District Court for the
  Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Segovia-Landa et al., 20 Cr. 287 (JPO)

Dear Judge Oetken:

        The Government writes to respectfully request a schedule for filing and briefing pretrial
motions in this matter. Specifically, the Government requests a schedule in which pretrial motions
are due December 9, 2020; the Government’s response is due January 6, 2021; and replies, if any,
are due January 20, 2021. The defendants consent to the proposed schedule. In addition, the
Government requests that a conference be scheduled after January 20, 2021, and seeks an exclusion
of time under the Speedy Trial Act until that conference.

        On February 11, 2020, the defendants were arrested following a series of narcotics
transactions. On February 12, 2020, the defendants were charged in a Complaint with one count
of conspiracy to distribute heroin, fentanyl, and methamphetamine, in violation of 21 U.S.C.
§§ 841(b)(1)(A) and 846. Following presentments held on the same day, defendants Marco
Segovia-Landa, Ledif Perez-Perez, and Jose Rivera were ordered detained. Defendant Lisandy
Joaquin Ortiz was released subject to bail conditions. On June 3, 2020, the grand jury returned
Indictment 20 Cr. 287 charging each defendant with one count of conspiracy to distribute heroin,
fentanyl, methamphetamine, and cocaine, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846. Each
of the defendants has been arraigned in the Magistrate Court.

       The bulk of the discovery in this matter has been produced. The Government recently
obtained consent from the parties for a protective order and, if entered by the court, the
Government will soon complete producing discovery.

       Accordingly, the Government requests an order setting a schedule in which pretrial motions
are due December 9, 2020; the Government’s response is due January 6, 2021; and replies, if any,
are due January 20, 2021. The defendants consent to the proposed schedule.

        The Government further requests that a conference be scheduled after the completion of
briefing, and an order excluding time under the Speedy Trial Act from the date of the Court’s order
until the date of the pretrial conference. The ends of justice served by holding the conference at a
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future date outweigh the best interests of the public and the defendant in a speedy trial because it
will permit defense counsel and the defendants – some of whom are in custody – additional time
to review discovery under challenging circumstances. It will also afford the parties additional time
to discuss a resolution to this matter. See 18 U.S.C. § 3161(h)(7)(A).

                                                  Respectfully submitted,

                                                  AUDREY STRAUSS
                                                  Acting United States Attorney for the
                                                  Southern District of New York

                                            by:      /s/
                                                  Kedar S. Bhatia
                                                  Assistant United States Attorney
                                                  (212) 637-2465

        The motion schedule proposed herein is adopted. The conference previously
        scheduled for October 6, 2020, is adjourned to January 27, 2021, at 2:00 p.m.
        The Court hereby excludes time through January 27, 2021, under the Speedy Trial
        Act, 18 USC 3161(h)(7)(A), finding that the ends of justice outweigh the interests of
        the public and the defendants in a speedy trial.
          So ordered.
          October 16, 2020
